66 F.3d 318
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff--Appellee,v.Cass W. YELARDY, a/k/a Junior Brown, a/k/a J.R., Defendant--Appellant.
    No. 95-6769.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 24, 1995.Decided:  Sept. 14, 1995.
    
      Cass W. Yelardy, appellant pro se.  Benjamin H. White, Jr., Assistant United States Attorney, Greensboro, NC, for appellee.
      Before WIDENER, HALL, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Yelardy, Nos.  CR-87-118-G;  CA-94-459-2 (M.D.N.C. Apr. 10, 1995).  We also deny Appellant's motion for appointment of counsel.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    